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   1 Baruch C. Cohen, Esq. (SBN 159455)
     LAW OFFICE OF BARUCH C. COHEN
   2       A Professional Law Corporation
     4929 Wilshire Boulevard, Suite 940
   3 Los Angeles, California 90010
     (323) 937-4501 Fax (888) 316-6107
   4 e-mail: baruchcohen@baruchcohenesq.com

   5   Attorney for Defendants PETER MARCO LLC, a California limited liability
       company, PETER VOUTSAS, an individual
   6

   7                      IN THE UNITED STATES DISTRICT COURT
   8                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
   9

  10    DAVID ROVINSKY LLC, a                 USDC # 2:20-cv-02580
        Delaware limited liability company
  11                                          ANSWER TO COMPLAINT FOR:
                       Plaintiff,             NEGLIGENCE, CONVERSION,
  12                                          FRAUD, NEGLIGENT
        vs.                                   MISREPRESENTATION, CIVIL
  13                                          THEFT (CAL. PENAL CODE § 496),
        PETER MARCO LLC, a                    AND AIDING AND ABETTING
  14    California limited liability          CONVERSION AND CIVIL THEFT
        company, PETER VOUTSAS, an
  15    individual                            COMPLAINT FILED: [Doc-1] 3-18-2020
                                              TRIAL DATE: NOT YET SET
  16                  Defendants.

  17

  18
                 Defendants PETER MARCO LLC, a California limited liability company
  19
       (“Marco LLC”), PETER VOUTSAS (“Marco”) an individual (collectively herein
  20
       referred to as “Defendants” and/or “Marco”), hereby answers the Complaint For:
  21
       Negligence, Conversion, Fraud, Negligent Misrepresentation, Civil Theft (Cal.
  22
       Penal Code § 496), and Aiding and Abetting Conversion and Civil Theft
  23
       (“Complaint”) filed by Plaintiff DAVID ROVINSKY LLC, a Delaware limited
  24
       liability company (“Plaintiff” and/or “Rovinsky”) in case # 2:20-cv-02580, and
  25
       denies any and all such allegations, and further admits or denies the specific
  26
       allegations of the Complaint and states all applicable affirmative defenses, as
  27
       follows:
  28

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   1   1.        IMPORTANT BACKGROUND TO PROVIDE PROPER CONTEXT
   2             TO THIS DISPUTE
   3             On 3-18-2020, Plaintiff filed a complaint against Defendants, Case #
   4   2:20-cv-02580 for negligence, conversion, fraud, negligent misrepresentation, civil
   5   theft (Cal. Penal Code § 496), and aiding and abetting conversion and civil theft
   6   seeking damages of $1,130,000.00, for the sale of a Ring & Necklace.
   7             To better understand this Answer, Defendants provide the backdrop to the
   8   Rovinsky transaction, to show that Jona Rechnitz (“Jona”) is the real culprit, whose
   9   fraudulent actions (unbeknownst to Defendants at the time) caused Plaintiff’s
  10   damages. Defendants and Plaintiff are both the victims of Jona Rechnitz’s fraud.
  11             a.    MARCO’S TRANSACTIONS WITH RECHNITZ
  12             From the period 8-26-2018 to 12-23-2019, Marco & Jona enjoyed a
  13   successful and trusting relationship with each other whereby they engaged in
  14   approximately 32 transactions totaling approximately $39,369,620.00 in value,
  15   whereby they bought merchandise from each other and/or returned merchandise to
  16   each other. Jona introduced Marco to famous celebrities, including NBA stars
  17   Shaquille "Shaq" O'Neal, Scottie Pippen, Sam Cassell, boxing champ Floyd
  18   Mayweather, pop stars Kim Kardishian & Kris Jenner, and artist Alec Monopoly, to
  19   name a few, who Marco parlayed Jona’s introductions into clients and/or to
  20   advance his social media presence by being connected to them.
  21             From the period 10-29-2019 to 1-7-2020 (notwithstanding his then legal
  22   troubles in NY), Jona assured Marco that he was back from NY refocused on his
  23   business, and acquired $6,950,444.40 of additional jewelry from Marco on
  24   consignment for the purpose of reselling them to his clients (including Plaintiff’s
  25   Ring and Necklace).
  26             At the time, Marco had no reason to believe that the $6,950,444.40
  27   consignments with Rechnitz would be in jeopardy, primarily because of his
  28

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                                                   -2-
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   1   successful and trusting relationship with Jona, the 32 prior transactions with him
   2   totaling approximately $39,369,620.00 in value. Accordingly, Marco LLC
   3   consigned the following pieces of Consigned Jewelry to Rechnitz.
   4
        #        Date         Vendor       Item                             Cost
   5
        1        10-29-2019   Luna         Yellow & White Choker           $150,000.00
   6                                       Necklace / Bracelet - 69.13 ct
                                           10stone 34.9ct 412,500
   7                                       yellow /wt choker/bracelet
   8    2        11-11-2019   Marco LLC    Three Butterfly Rings for Kris    $22,000.00
                                           Jenner & the Kardashians
   9
        3        11-19-2019   David        NECKLACE - 18KYG               $1,300,000.00
  10                          Rovinsky     Diamond necklace, 134.71
                                           Fancy Yellow, internally
  11                                       flawless, VS2 , 49 stones.
  12
        4        11-26-2019   Marco LLC    Two Watches for Jona’s client     $89,000.00
                                           Justin Bieber
  13    5        11-27-2019   David        RING - 43.10 Carat Fancy       $1,650,000.00
                              Rovinsky     Yellow diamond+ 6.82 carats.
  14
        8                     Marco LLC    Two Diamond fashion rings          $5,000.00
  15                                       for Jona’s client Kim
                                           Kardashian
  16
        7        12-2-2019    Norman       BRACELET - Multi-shape 14       $500,000.00
  17                          Silverman    stone diamond bracelet, 45.47
                              (Lazar)      carats, white gold.
  18    8        12-5-2019    Marco LLC    Watch for Jona’s father         $145,000.00
  19
                                           Robert & Mixed gold &             $44,200.00
                                           diamond pieces, for Jona’s      $189,200.00
  20
                                           client Alec Andon Monopoly
        9        12-9-2019    Marco LLC    Cufflinks for Jona’s client        $7,000.00
  21                                       Chaz
  22    10       12-12-2019   Norman       BY215 - BRACELET -              $140,000.00
                              Silverman    Platinum/18kwg 36.69 carats,
  23                                       132 stones, 44 radiant
                                           25.52cttw., 66 baguettes 7.57
  24                                       cttw
  25    11       12-16-2019   Norman       NS10052 - EARRINGS -            $335,000.00
                              Silverman    18kwg 2stones, 9.02 Round
  26                                       Brilliant, J/Sl2G, GIA#
                                           2165989714, 9.02 Round
  27                                       Brilliant, J/Sl2, GIA#
                                           2205611416
  28

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   1
        12       12-16-2019    Lazar         LAZ52342 - RING- 20.54        $793, 049.40
   2
                                             carat Oval diamond ring,
                                             H/VVS2, GIA# 6204485119
   3    13       12-16-2019    First         EID MT 13.62 D/VVS1, #             $1,333,
                               International 11776564                            695.00
   4
        14       12-23-2019    Marco LLC Watch for Jona’s client Kim        $141,500.00
   5                                         Kardashian, and Two
                                             Diamond fashion rings for
   6                                         Jona’s client Kim Kardashian
   7    15       1-7-2020      Eli, Inc.     RING - 15.03 Fancy Yellow      $215,000.00
                                             internally flawless radiant
   8                                         diamond mounted on a WG
                                             ring with a diamond halo.
   9    16                     Marco LLC Saloman (charge back credit         $80,000.00
  10
                                             card)
                                                                    TOTAL $6,950,444.40
  11

  12             Prior to 10-29-2019, and thereafter, Rechnitz repeatedly represented to
  13   Marco that he had interested buyers for the pieces of Consigned Jewelry, that
  14   consummation of his sales were imminent, and that payment to Marco would be
  15   imminent.
  16             b.    PLAINTIFF WAS AWARE THAT MARCO LLC CONSIGNED
  17                   THE JEWELRY TO RECHNITZ, AND THAT MARCO LLC’S
  18                   PAYMENT TO PLAINTIFF WAS CONTINGENT ON
  19                   RECHNITZ COMPLETING THE DEAL
  20             On 11-16-2019 at 8:24PM, Plaintiff texted Marco that Rovinsky was aware
  21   that Marco LLC was consigning the jewelry to Jona Rechnitz, and that Plaintiff’s
  22   repayment was contingent on Rechnitz completing the deal:
  23             ROVINSKY:          I’ll have the necklace back in my office in New York on
  24
                                    Tuesday. Wife wants it in maryland, husband came in and
                                    loves it but hasn’t committed yet. It’s a pain in the ass to
  25
                                    ship out of the store it’s at so want to have it in my hands
                                    in case your guy decides he wants to pull the trigger
  26
                                    [Emphasis added].

  27
                 On 11-19-2019 at 10:55am, Plaintiff and Marco texted each other about Jona

  28
       Rechnitz’s purchase:

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                                                   -4-
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   1             MARCO: I received the necklace. Thank you
                 ROVINSKY:      Thanks. Is he coming in today you think?
   2             MARCO: I will let you know. I need to talk to him
                 ROVINSKY:      K. Fingers crossed, good luck! [Emphasis added]
   3
                 As stated above, on 11-19-2019 and on 11-27-2019, Marco LLC consigned
   4
       Plaintiff’s Ring & Necklace to Jona Rechnitz based on Rechnitz’s explicit
   5
       representations to Marco that he had buyers for them.
   6

   7
        Date       Vendor                   Item                       Cost
        11-19-2019 Marco LLC to             NECKLACE - 18KYG              $1,300,000.00
   8               Rechnitz                 Diamond necklace, 134.71
                                            Fancy Yellow, internally
   9                                        flawless, VS2 , 49 stones.
  10    11-27-2019 Marco LLC to             RING - 43.10 Carat Fancy      $1,650,000.00
                   Rechnitz                 Yellow diamond+ 6.82
  11                                        carats.
  12                                                            TOTAL      $2,950,000.00
  13             The way consignments work, is that if Rechnitz’s sale to his clients did not
  14   go though, then Rechnitz would return the pieces of Consigned Jewelry back to
  15   Marco LLC, who would in turn, return the Ring & Necklace back to Rovinsky.
  16             On 11-20-2019 at 9:55am, Plaintiff and Marco texted each other again about
  17   Rechnitz’s purchase - showing that Rovinsky knew about Marco’s client:
  18             ROVINSKY:         Any news from the client yet? Just checking in.”
                                   [Emphasis added]
  19             MARCO:      No. I will let you know. Promise
  20             On 11-27-2019 at 10:57am, Plaintiff and Marco texted each other again
  21   about Rechnitz’s purchase, wishing him luck with the sale, and acknowledging that
  22   this was to be their first successful transaction that broke the ice:
  23             ROVINSKY:     Hi Peter, happy almost thanksgiving. Anything we can
                               celebrate going into the holiday together?
  24             MARCO: I promise. I will know any day now
                 ROVINSKY:     Sounds good. Good luck my friend. Have a great
  25                           thanksgiving
                 MARCO: Happy Thanksgiving to you my Brother. Thank you again for
  26                     believing in me.
                 ROVINSKY:     You’re easy to believe in my man! Your energy and hard
  27                           work is inspiring! Excited to break the ice and get the
                               train moving down the tracks together. [Emphasis added]
  28

       4/14-2:54pm
                                                   -5-
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   1             On 12-2-2019 at 11:51am, Plaintiff and Marco texted each other again about
   2   Rechnitz’s $2,950,000.00 purchase:
   3             ROVINSKY:         Sorry, what was the number you needed to make it
                                   work? I wasn’t taking notes and now trying to get my
   4                               head into it.
                 MARCO: 2.9
   5             ROVINSKY:         Would like to get $2,950,000 if possible. If you can’t make
                                   it happen then I’ll live at 2.9. Keep me posted [Emphasis
   6
                                   added]
   7
                 On 12-2-2019 Marco LLC invoiced Rechnitz and his companies Jadelle
   8
       Jewelry and Diamonds, LLC, a Delaware limited liability company, Jadelle
   9
       Jewelry, LLC, and Jadelle Inc., a California corporation for the $2,950,000.00, the
  10
       exact amount of the Rechnitz purchase.
  11
                 On 12-2-2019 at 9:06pm, Plaintiff and Marco texted each other again about
  12
       Rechnitz’s $2,950,000.00 purchase, acknowledging that Marco was awaiting
  13
       Rechnitz’s $2,950,000.00 check:
  14
                 ROVINSKY:        Thanks for the good news. Let me know when you get the
  15                              check and I’ll send you invoice for $2,950,000. Let me
                                  know what amount you want to pay before Jan and I’ll
  16                              take the 1 percent out of the $25,000 to soften the blow
                                  on you and as a thank you for making it happen!
  17             MARCO:      Thank you. I will let you know [Emphasis added]
  18             On 12-5-2019 at 10:49am, Plaintiff and Marco texted each other again about
  19   Rechnitz’s purchase, acknowledging again, that Marco was awaiting Rechnitz’s
  20   $2,950,000.00 check:
  21             ROVINSKY:     Any news? On a flight and just curious
                 MARCO: I will receive the check tomorrow. I will let you know
  22             ROVINSKY:     Awesome! Good luck! [Emphasis added]
  23             c.    RECHNITZ’S REPRESENTATIONS TO MARCO THAT HE
  24                   SOLD PLAINTIFF’S RING & NECKLACE
  25             On or about 12-5-2019, Rechnitz represented to Marco that he sold
  26   Plaintiff’s Ring & Necklace and was awaiting receipt of payment from his clients.
  27   Rechnitz issued Marco check # 8630 for $2,950,000.00 post-dated to 1-5-2020 (for
  28

       4/14-2:54pm
                                                  -6-
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   1   Plaintiff’s Ring and Necklace).
   2             In turn, on or about 12-5-2019, Marco LLC issued check # 6304 for that
   3   exact same amount $2,950,000.00 to Plaintiff, post-dated 1-8-2020, for Plaintiff’s
   4   Ring and Necklace.
   5             On 12-16-2019 at 7:57am, Plaintiff and Marco texted each other again about
   6   Marco LLC’s post-dated check for $2,950,000.00:
   7             ROVINSKY:          Got the check this am. Thank you! You made is for too
                                    much money. We agreed on $2,925,000, you made for
   8                                $2,950,000. Will send you back the difference once
                                    deposited
   9             MARCO:       Lol. Thank you, I’m crazy busy
  10             Rechnitz represented to Marco that his check to Marco LLC could not be
  11   cashed yet, offering several excuses that seemed plausible to Marco at the time, and
  12   Marco in return, told Plaintiff not to deposit Marco LLC’s check yet until
  13   Rechnitz’s check cleared. This is important, because normally, the parties would
  14   have agreed to wire transfer payments. The fact that Plaintiff and Marco agreed to a
  15   post-dated check evinced Plaintiff’s understanding that Plaintiff’s payment from
  16   Marco LLC was contingent on Rechnitz paying Marco LLC.
  17             During this entire time, Plaintiff was pressuring Marco for word that Marco
  18   LLC’s post-dated check for $2,950,000.00 would clear, and Marco was conveying
  19   to Plaintiff exactly what he believed: that his buyer Rechnitz still needed to receive
  20   the funds from Rechnitz’s clients and make good on his post-dated check for
  21   $2,950,000.00 to Marco LLC.
  22             On 1-2-20, at 9:29:16 AM, Rechnitz texted Marco that his sale with his client
  23   consummated and funded:
  24             Good morning. I’m proud to tell you that the check was just deposited. 7-10
                 day hold. The manager will see what can be done if anything to make it
  25             earlier. I’m at a client in San Francisco reviewing all of their jewelry which
                 is a big opportunity maybe for us. Have a great day [Emphasis Added].
  26
                 On 1-7-20, at 1:19:53 PM, Rechnitz texted Marco that Levin was coming to
  27
       Marco’s store to pick up Rovinsky’s ring, because Jona’s sale with his client
  28

       4/14-2:54pm
                                                    -7-
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   1   consummated and funded:
   2             Levin coming at around 2 for the ring [Emphasis Added].
   3             On 1-7-20, at 2:12:17 PM, Rechnitz texted Marco, that Marco had to wait to
   4   cash Jona’s check for $2,950,000.00 until Jona’s bank cleared the funds:
   5             7 days is 1-13. 10 days is 1-16. Levin called me to repeat your conversation
                 dates are business days.
   6
                 On 1-9-20, at 9:33:33 AM, Rechnitz texted Marco:
   7
                 I think will have good news on the stones by tomorrow. Will update you.
   8             [Emphasis added].
   9             On 1-10-20, at 9:47:57 AM, Rechnitz texted Marco:
  10             Our client said he is choosing over weekend with his wife and will ship
                 back whatever is out Monday. [Emphasis added].
  11
                 On 1-12-20, at 9:41:26 AM, Rechnitz texted Marco:
  12
                 His wife is going to select a few rings today or tomorrow they just got back
  13             to normalcy. One of the babies had an issue wasn’t nursing. She is leaning
                 towards pink, yellow, and 20ct round. Everything will be selected by
  14             tomorrow and shipped back following day. Then we can re ship what they
                 selected. [Emphasis added].
  15
                 On 1-12-20, at 7:00:43 PM, Rechnitz texted Marco:
  16
                 And he will ship back everything and then we will ship back what he chose.
  17             [Emphasis added].
  18             On 1-13-20, at 10:48:09AM, Rechnitz texted Marco:
  19             I’m going back to sleep. Stones from them are being shipped back Malca
                 and he will let me know which ones he is taking tonight [Emphasis added].
  20
                 On 1-13-20, at 10:56:17AM, Rechnitz texted Marco:
  21
                 You sent a few options to the client they are sending all back and closing
  22             deal this evening on what they choose with you. Then once your paid you’ll
                 ship back. [Emphasis added].
  23
                 On 1-13-20, at 5:54:46 PM, Rechnitz texted Marco that his check for
  24
       $2,950,000.00 would clear that week:
  25
                 Payment by Friday. [Emphasis added].
  26
                 On 1-14-20, at 10:01:39 PM, Rechnitz texted Marco that his check for
  27
       $2,950,000.00 would clear the next day:
  28

       4/14-2:54pm
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   1             I’m hoping check goes clear tomorrow. Hoping hoping. [Emphasis added].
   2             On 1-15-20, at 8:43:41 AM, Rechnitz texted Marco that his check for
   3   $2,950,000.00 did not yet clear, but would clear the next day:
   4             Funds didn’t clear yet but tomorrow is the 10th day. Aaaahhhhhh. Yellow
                 ring will let you know where we stand today. Levin will get check when you
   5             tell me he can get it thx. [Emphasis added].
   6             On 1-15-20, at 7:29:56 PM, Rechnitz texted Marco that the funds would clear
   7   because Jona’s client released the funds:
   8             Also 10th business day is tomorrow overnight but I think I managed to get a
                 release in am. Will keep you posted. [Emphasis added].
   9
                 On 1-16-20, at 9:05:25 AM, Rechnitz texted Marco that the funds did not yet
  10
       clear:
  11
                 Still not available. Available tomorrow. Aaaahhhhhh
  12
                 On 1-16-20, at 10:31:10AM, Rechnitz texted Marco that the funds would
  13
       clear:
  14
                 All goods back Monday and you’re getting a wire Monday directly for what
  15             they chose. When oved calls from Moe money Friday just tell give him his
                 check for Monday I guess and tell him not to deposit until Monday because
  16             you need funds to clear from the client. [Emphasis added].
  17             On 1-17-20, at 9:50:55 AM, Rechnitz texted Marco to expect a wire for the
  18   $2,950,000.00:
  19             What’s app me balance I owe you separate so I include in the wire. It’s
                 happening today. Love u. [Emphasis added].
  20
                 On 1-17-20, at 10:44:48AM, Rechnitz texted Marco to expect a wire for the
  21
       $2,950,000.00 the next day:
  22
                 Wire need me two manager sign offs will be out today and hit your account
  23             next business day. [Emphasis added].
  24             On 1-17-20, at 10:50:08AM, Rechnitz texted Marco that Marco should
  25   expect a wire for the $2,950,000.00 that day:
  26             It’s for sure going out today they said. I will confirm. Going out shortly.
                 [Emphasis added].
  27
                 On 1-17-20, at 12:55:02 PM, Rechnitz texted Marco that Marco should
  28

       4/14-2:54pm
                                                   -9-
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   1   expect a wire for the $2,950,000.00 the next day:
   2             Monday is a bank holiday. So it will be ordered and hit Tuesday morning. I
                 spoke to client. I’m all over everything. [Emphasis added].
   3
                 On 1-20-20, at 2:26:24 PM, Rechnitz texted Marco that Marco to expect a
   4
       wire for the $2,950,000.00 the next day:
   5
                 Will know tomorrow. Being shipped back tomorrow. I can’t answer you
   6             until tomorrow he is at a MLK event he is paying for. [Emphasis added].
   7             On 1-20-20, at 2:27:42 PM, Marco texted Rechnitz:
   8             Ok. Thank you. So most likely we will not have the wire tomorrow?
   9             [Emphasis added].
  10             On 1-20-20, at 2:28:52 PM, Rechnitz texted Marco:
  11             Correct. Next day... [Emphasis added].
  12             d.    MARCO’S SUBSEQUENT DISCOVERY OF RECHNITZ’S
  13                   FRAUD
  14             Unbeknownst to Marco, Rechnitz’s representations that he had buyers and
  15   sold Plaintiff’s Ring and Necklace were false.
  16             On or about 1-21-2020, Marco subsequently discovered from colleagues in
  17   the jewelry industry, that instead of selling Plaintiff’s Ring and Necklace and
  18   repaying Marco LLC, Rechnitz swindled Marco in a large scale fraud by
  19   absconding with all pieces of Consigned Jewelry (including Plaintiff’s Ring and
  20   Necklace), and either pawned them off, or used them as collateral for loans to
  21   various questionable sources, and has not repaid Marco LLC the $6,950,444.40.
  22   Marco subsequently discovered from his colleagues that Rechnitz liquidated all
  23   pieces of Marco’s Consigned Jewelry.
  24             But even after Marco discovered Rechnitz’s fraud from colleagues in the
  25   jewelry industry, Rechnitz continued to play Marco and deceive him with false and
  26   misleading stories:
  27             On 1-21-20, at 10:22:38AM, Rechnitz texted Marco:
  28

       4/14-2:54pm
                                                  -10-
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   1             The stone of Oved’s is coming back tomorrow with all of the other stones.
                 Client isn’t taking anythinf. I have a major issue now they didn’t know
   2             about my legal situation and freaked out they also want to reverse previous
                 transactions of mine. He can’t be associated with me. A man of his status.
   3             I’m dealing with a huge crisis now and my Dad is at bank trying to sort out
                 issue for me in regards to all this. I stopped the wire because they may be
   4             sending the necklace and ring back. I need a few hours to deal with them
                 with my lawyer. This is a disaster. I am trying to fix this but won’t know for
   5             a few hours. I also have Moty Klein in town at the same time while this is all
                 going on which is extra stress as he can’t hear any of this. Give me a few
   6             hours please and I hope to have better news. [Emphasis Added].
   7             On 1-21-20, at 10:23:29AM, Rechnitz texted Marco a vague admission of
   8   guilt and liability:
   9             I understand if you never want to deal with me again or see my fave ever
                 again I am so sorry. [Emphasis Added].
  10
                 On 1-21-20, 10:24:09AM, Rechnitz texted Marco:
  11
                 You need to let me try and resolve this now. [Emphasis Added]
  12
                 On 1-21-20, at 10:33:53AM, Rechnitz texted Marco:
  13
                 You don’t even need to type back anything to me I’m depressed. Upset.
  14             This all happened Yesterday evening. I’m dealing with it. Standby
                 [Emphasis Added].
  15
                 Even had Marco tried to deposit Rechnitz’s $2,950,000.00 post-dated check,
  16
       he could not because Rechnitz had instructed him to rip it up earlier based on his
  17
       promises to Marco that he would wire the funds to Marco LLC.
  18
                 e.    ROVINSKY’S “RELIANCE” WAS NOT REASONABLE - HE
  19
                       KNEW HE WAS TAKING RISKS WITH MARCO LLC’S
  20
                       CONSIGNMENT TO RECHNITZ
  21
                 On 1-21-2020 at 12:25pm, Plaintiff and Marco texted each other again about
  22
       Rechnitz’s purchase, with Rovinsky admitting that he took risks by authorizing
  23
       Marco LLC to consign the jewelry to Rechnitz, acknowledging that Marco was not
  24
       at fault for Rechnitz’s fraud:
  25
                 ROVINSKY:          I’m trying to be patient but starting not to understand
  26                                what the issue is at this point and getting calls every 30
                                    minutes for the last 3 hours to see if money has moved
  27                                from my partner on the necklace and owner of the ring. If
                                    the money hit your account which is now 11 business days
  28

       4/14-2:54pm
                                                   -11-
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   1                               why is there anything to work out with the bank? It should
                                   be as simple as the money is in the account and you give
   2                               wire instructions to send it from the bank? What am I
                                   missing? I made promises when we made the deal based
   3                               off 1-8 me depositing the check. It’s now 1-21 and nothing
                                   has happened. I need to resolve this today. I have gone to
   4                               bat on every end here, I’ve taken a lot of risk and have
                                   believed everything you’ve said. What is the problem
   5                               today? It seemed very clear on Friday and Saturday
                                   when we spoke that 11 percent the money this am. It’s
   6                               now 12:30 there and 3:30 here and nothing happened? I
                                   am usually very low key but it’s $3,000,000 we’re talking
   7                               about this can’t keep getting pushed and pushed. In no
                                   way do I think this is your fault or you’re doing
   8                               anything maliciously but I’m dealing with two other
                                   people who don’t know you and are starting to think
   9                               something not right is happening here. [Emphasis added]
  10             On 1-21-20, at 1:51:24 PM, Plaintiff and Marco texted each other again
  11   about Rechnitz’s purchase, with Rovinsky admitting that the deal was contingent on
  12   Rechnitz paying Marco LLC:
  13             ROVINSKY:      What time can I send someone to pick up the pieces
                                tomorrow if the wire isn’t sent?
  14             MARCO: I will let you know. I don’t have answers right now
                 ROVINSKY:      Let’s get the pieces back, if the deal goes through we’ll
  15                            happily send the pieces back at this point. They’ve lost all
                                faith in me and my word and want their goods back. If
  16                            you revive the deal we’ll get the pieces back to you
                                [Emphasis added]
  17
                 On 1-21-2020 at 8:52pm, Plaintiff and Marco texted each other again about
  18
       Rechnitz’s purchase, with Rovinsky acknowledging the Rechnitz predicament, and
  19
       now changed his story:
  20
                 ROVINSKY:         Peter I understand you’re in a very difficult situation
  21                               and I think I’ve showed compassion along the way as this
                                   deal has dragged out. My mind is not going crazy.th It is
  22                               simple. You sold the jewelry and were paid Jan 6 . You
                                   told me you were only waiting on funds to clear to pay
  23                               me. We had a deal. You were supposed to pay me two
                                   weeks ago! It was not contingent on your clients potential
  24                               life changes. I’m not being argumentative here. I just
                                   don’t understand. How has our agreement changed? I’m
  25                               not trying to add more stress. I’m just trying to
                                   understand how we got to this position. I woke up this
  26                               morning I was finally being paid $3m and only late this
                                   afternoon heard for the first time that there was an issue
  27                               with your client. This is beyond shocking news a month
                                   after the sale was made. it’s another week by the time we
  28

       4/14-2:54pm
                                                  -12-
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   1                            see the money and they don’t trust anything I say at this
                                point. Is today the first you’ve heard of any issues with
   2                            the client and it just happen to coincide with the exact
                                time you promised to send me a wire? Although you only
   3                            think you’re asking for two more days in my and my
                                partners eyes [Emphasis added]
   4             MARCO: Yes. And remember it is 10 business days plus we had a holiday.
                         I really think your partners are not being realistic as to what
   5                     happens in life. I told you everything. I’m doing everything I
                         can. I’m sorry if it’s not good enough for them. I’m done. I will
   6                     let you know when I know something. I have never in my 40
                         years have I had to deal with something like this. It’s a little
   7                     delayed, that’s all. All of this is not making it better or easier.
                         [Emphasis added]
   8             ROVINSKY:      No one is trying to make it more difficult. There’s a lot of
                                money involved and it’s out first transaction and the
   9                            game changed today when the story went from we’re
                                receiving a wire to now the client might back out. You and
  10                            I had a clear deal, and there were no contingencies. Shit
                                happens and I feel bad that this is happening to you. Let’s
  11                            talk with clear heads tomorrow and hopefully we’ll be
                                able to bring positive closure to this [Emphasis added]
  12
                 On 11-27-2019 at 10:57am, Plaintiff and Marco texted each other again
  13
       about Rechnitz’s purchase, acknowledging that their transaction was their first and
  14
       that Plaintiff was “breaking the ice” with Defendants:
  15
                 ROVINSKY:      Hi Peter, happy almost thanksgiving. Anything we can
  16                            celebrate going into the holiday together?
                 MARCO: I promise. I will know any day now
  17             ROVINSKY:      “Sounds good. Good luck my friend. Have a great
                                thanksgiving [Emphasis added]
  18             MARCO: Happy Thanksgiving to you my Brother. Thank you again for
                         believing in me.
  19             ROVINSKY:      You’re easy to believe in my man! Your energy and hard
                                work is inspiring! Excited to break the ice and get the
  20                            train moving down the tracks together. [Emphasis added]
  21             f.    MARCO FACILITATED THE RETURN OF PLAINTIFF’S
  22                   JEWELRY
  23             Marco informed Plaintiff of Rechnitz’s fraud, and how he apparently took
  24   Marco LLC’s jewelry to a 3rd party and used them as collateral for loans. Plaintiff
  25   asked Marco to assist in connecting Rovinsky with the 3 rd party so that Plaintiff
  26   could buy back the Ring & Necklace.
  27             On 1-27-2020 at 3:06pm, Plaintiff and Marco texted each other again about
  28

       4/14-2:54pm
                                                  -13-
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   1   Marco’s efforts to facilitate the return of Plaintiff’s Ring & Necklace. Plaintiff
   2   wanted to see a picture of his jewelry on top of that day’s newspaper to make sure
   3   that the 3rd person actually had the jewelry:
   4             ROVINSKY:      How are we doing with the photo?
                 MARCO: I will text him now
   5             ROVINSKY:      Thank you but can they please put today’s newspaper
                                with it? Call you in 1 minute [Emphasis added]
   6
                 On 1-30-2020 at 11:23am, Plaintiff and Marco texted each other again about
   7
       Marco’s efforts to facilitate the return of Plaintiff’s jewelry.
   8
                 ROVINSKY:      Spoke to my partners and they are very clear that today is
   9                            the day. Please reiterate that. They are either wiring
                                malca or a retainer today and made it clear to me that it’s
  10                            no longer in my control. Urgency to push to get to get this
                                done today?
  11             MARCO: Just got this from Henry. Good news coming your way. Give me
                         a few. OK
  12             ROVINSKY:      Ok thanks. RT Jewelers Inc 2158299977
                 MARCO: Please if possible to get the ring today. I’ll try but I also have a
  13                     packed schedule today as well again this is a favor to help the
                         transaction. [Emphasis added]
  14
                 g.    RECHNITZ’S RECENTLY DISCOVERED FRAUDS ON THE
  15
                       JEWELRY INDUSTRY IN GENERAL AND TO MARCO IN
  16
                       PARTICULAR
  17
                 On information and belief, at this same time, Rechnitz defrauded other
  18
       diamond dealers and insurance companies in Southern California, including but not
  19
       limited to: Sotheby’s, Leon Landver, Ben Adhoot, and Yehuda Gamzo, Oved
  20
       Anter, Moti Klein, and Julius Klein.
  21
                 On 1-17-2020 Rechnitz issued two worthless checks to First International
  22
       totaling $2,122,760.00 that he had no intention of honoring: (1) Check # 2200 for
  23
       $922,760.00; and (2) Check # 2201 for $1,200,000.00. Both checks were NSF at
  24
       the time of tender, in violation of the California Civil Code § 1719 and the
  25
       California Penal Code § 476a.
  26
                 In addition, and to make matters worse, on 1-14-2020 Rechnitz issued Franco
  27
       Noval a worthless check that he had no intention of honoring, check # 8817 for
  28

       4/14-2:54pm
                                                  -14-
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   1   $2,500,000.00, and then on 1-16-2020 check # 8820 for $1,300,000.00, and then on
   2   1-22-2020 check # 8823 for $4,500,000.00 also in violation of the California Civil
   3   Code § 1719 and the California Penal Code § 476a.
   4
        Check #                  Date                 To                  $
   5    8630                     1-5-2020             Peter Marco            $2,950,000.00
   6    8817                     1-14-2020            Franco Noval           $2,500,000.00
   7    8820                     1-16-2020            Franco Noval           $1,300,000.00
   8
        2200                     1-17-2020            First International     $922,760.00
        2201                     1-17-2020            First International    $1,200,000.00
   9
        8823                     1-22-2020            Franco Noval           $4,500,000.00
  10
                                                                 TOTAL      $13,372,760.00
  11
                 On 2-4-2020 at 9:40pm, attorneys from Williams & Cohen wrote Marco
  12
       about a purported bailout of Rechnitz:
  13
                 “We write with an update on Jona Rechnitz. A family member of Mr.
  14             Rechnitz has informed our law firm that the family member is
                 seeking to refinance certain real property in order to satisfy Mr.
  15             Rechnitz's outstanding liabilities. We currently have no visibility into
                 the family member's interest in the property, the value of the property,
  16             or what, if any equity, the family member has in it. If you are
                 represented by counsel, please let us know and provide your counsel's
  17             contact information. Our client's desire is to resolve this matter
                 amicably.” [Emphasis added]
  18
                 Meanwhile, on 2-10-2020, as reported in the NY Post: “Ex-de Blasio crony
  19
       used Kardashian ties for fraud scheme, lawsuit claims,”
  20
       (https://nypost.com/2020/02/09/ex-de-blasio-crony-used-kardashian-ties-for-fraud-
  21
       scheme-lawsuit-claims/), and as reported in the 3-6-2020 article in JCK: “The
  22
       Troubling Case of Jona Rechnitz”
  23
       (https://www.jckonline.com/editorial-article/the-troubling-case-jona-rechnitz/), and
  24
       as reported in the 3-10-2020 NY Daily News article “Corrupt Mayor de Blasio
  25
       donor Jona Rechnitz faces new FBI probe in L.A.: court papers”
  26
       (https://www.nydailynews.com/new-york/ny-rechnitz-los-angeles-probe-20200310-
  27
       nrzbb6263nga3hkcyob2lw46wq-story.html), one of Jona’s recently defrauded
  28

       4/14-2:54pm
                                                   -15-
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   1   victims filed a lawsuit entitled: Victor Franco Norval vs Jona S. Rechnitz, Rachel
   2   Rechnitz, Jadelle Inc., a California Corporation; Jadelle Jewelry and Diamonds,
   3   LLC, a Delaware Limited Liability Company; Levin Prado Aka Levon Prado, an
   4   Xiomara Cortez, LASC # 20SMCV00216, for (1) Fraud (2) Civil Theft (Penal
   5   Code, § 496), (3) Breach of Contract, (4) Conspiracy to Commit Theft, Fraud, and
   6   Fraud by Concealment, (5) Appointment of Receiver seeking damages of
   7   $7,000,000.00.
   8             Interestingly, on 2-22-2020, Jona’s father Robert Rechnitz reiterated the
   9   proposed bailout by Jona’s cousin to Marco and represented that Marco would be
  10   paid “first in line” by Jona’s cousin.
  11             And then on 2-20-2020, as reported in the NY Post “De Blasio donor Jona
  12   Rechnitz accused of $1M scam in California,”
  13   (https://nypost.com/2020/02/28/de-blasio-donor-jona-rechnitz-accused-of-1m-scam
  14   -in-california/) another one of Jona’s defrauded victims filed a lawsuit entitled:
  15   Israel Sam Gorodistian vs. Jadelle Jewelry and Diamonds, LLC, a Delaware
  16   Limited Liability Company; Jadelle Inc., a California Corporation; Jona Rechnitz,
  17   Rachel Rechnitz, Robert Rechnitz, LASC # 20STCV07425, for 1. Conversion; 2.
  18   Civil Theft (Pen. Code § 496); 3. Fraud – False Promise; 4. Negligent
  19   Misrepresentation; 5. Civil Conspiracy to Defraud; 6. Breach of Oral Contract (2
  20   Counts); 7. Breach of Implied-in-fact Contract (2 Counts); 8. Money Lent; 9.
  21   Account Stated; and 10. Breach of Written Guaranty seeking damages of
  22   $1,659,333.33.
  23             There are many victims of Rechnitz’s fraud. Marco was victimized by
  24   Rechnitz, and so was Plaintiff. Marco transacted with Plaintiff in good faith, and in
  25   the belief that Rechnitz sold the Consigned Jewelry and Marco was awaiting
  26   payment from Rechnitz. At no time, did Marco misrepresent anything to Plaintiff.
  27   At no time did Marco represent to Plaintiff that the Rechnitz sale was ever
  28

       4/14-2:54pm
                                                   -16-
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   1   consummated. A careful reading of the texts between Plaintiff and Marco
   2   substantiate the accuracy of Marco’s representations to Plaintiff. Marco’s
   3   subsequent discovery of Rechnitz’s recent frauds, after-the-fact, cannot have
   4   retroactive effect, and imply that Marco knew of Rechnitz’s recent frauds when
   5   Marco contracted with Plaintiff.
   6             h.    JADELLE’S INVOLUNTARY BANKRUPTCY PROCEEDING
   7             As reported in the NY Post: “Corrupt de Blasio donor Jona Rechnitz’s
   8   alleged victims trying to force him into bankruptcy”
   9   (https://nypost.com/2020/04/07/de-blasio-donor-jona-rechnitzs-alleged-victims-tryi
  10   ng-to-bankrupt-him/) on 4-6-2020, an involuntary chapter 7 bankruptcy proceeding
  11   was filed against Jadelle Jewelry and Diamonds, LLC, a Delaware limited liability
  12   company, Jadelle Jewelry, LLC, and Jadelle Inc., a California corporation, USBC #
  13   2:20-bk-13530-BR. The petitioning creditors are: First International Diamond, Inc.,
  14   with Trade Debt/Damages of $1,976,225.00, Peter Marco, LLC, with Trade
  15   Debt/Damages of $7,676,744.00 (the correct amount is $6,950,444.40), and Victor
  16   Franco Noval with Trade Debt/Damages of $5,800,000.00, with total petitioners'
  17   claims of $15,452,969.00.
  18             Jona is apparently no stranger to fraud. Unbeknownst to Marco, on 6-3-2019,
  19   Jona was sued in the United States Bankruptcy Court Southern District of New
  20   York (Manhattan), Adv. Case No, # 19-01236-jlg by Kenneth P. Silverman, Esq.,
  21   the Chapter 7 Trustee of the Jointly Administered Estates of National Events
  22   Holdings, LLC, Chapter 7 Case No.: 17-11556 (JLG) on 35 counts of receiving
  23   fraudulent conveyances through an elaborate Ponzi scheme, pursuant to New York
  24   Debtor and Creditor Law §276, and (b) pursuant to 11 U.S.C. §§550(a) and 551, 11
  25   U.S.C. §548(a)(1)(A), and (b), 11 U.S.C. §548(a)(1)(B), and (b), totaling
  26   $45,000,000.00.
  27   ///
  28

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   1                                   NATURE OF THE CASE
   2   1.        Answering Paragraph 1 of the Complaint, Defendants, admit the allegations
   3             in the 1st sentence of this Paragraph, except for the word: “gave.” Marco-LLC
   4             did not “give” the jewelry to Rechnitz, they were consigned to Rechnitz.
   5             Answering Paragraph 1 of the Complaint, Defendants, deny the allegations in
   6             the 2nd sentence of this Paragraph.
   7   2.        Answering Paragraph 2 of the Complaint, Defendants, deny the allegations of
   8             this paragraph.
   9                                            PARTIES
  10   3.        Answering Paragraph 3 of the Complaint, upon information and belief,
  11             Defendants deny knowledge or information sufficient to admit or deny the
  12             allegations in this paragraph. Answering Paragraph 4 of the Complaint, upon
  13             information and belief, Defendants admit the allegations in this paragraph.
  14             Voutsas operates by a business name Peter Marco (“Marco”).
  15   4.        Answering Paragraph 4 of the Complaint, upon information and belief,
  16             Defendants admit the allegations in this paragraph.
  17   5.        Answering Paragraph 5 of the Complaint, upon information and belief,
  18             Defendants admit the allegations in this paragraph.
  19                                JURISDICTION AND VENUE
  20   6.        Answering Paragraph 6 of the Complaint, upon information and belief,
  21             Defendants admit the allegations in this paragraph.
  22   7.        Answering Paragraph 7 of the Complaint, upon information and belief,
  23             Defendants admit the allegations in this paragraph.
  24                                 FACTUAL ALLEGATIONS
  25   8.        Answering Paragraph 8 of the Complaint, upon information and belief,
  26             Defendants admit the allegations in this paragraph.
  27   9.        Answering Paragraph 9 of the Complaint, upon information and belief,
  28

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   1             Defendants admit the allegations in this paragraph.
   2   10.       Answering Paragraph 10 of the Complaint, upon information and belief,
   3             Defendants deny the allegations in this paragraph. Plaintiff never consigned
   4             the 43-carat yellow diamond ring (the “Ring”) to Peter Marco personally.
   5             Plaintiff consigned the Ring to Marco LLC.
   6   11.       Answering Paragraph 11 of the Complaint, upon information and belief,
   7             Defendants deny the allegations in this paragraph. Plaintiff never consigned
   8             the 134-carat yellow radiant diamond necklace (the “Necklace”) to Peter
   9             Marco personally. Plaintiff consigned the Necklace to Marco LLC.
  10   12.       Answering Paragraph 12 of the Complaint, upon information and belief,
  11             Defendants admit some the allegations in this paragraph. However, as this
  12             Paragraph comes under the header that “Peter Marco Falsely Claimed It Sold
  13             Jewelry to an Unidentified ‘Private Client’” Defendants deny the allegations.
  14             Answering Paragraph 12 of the Complaint, upon information and belief,
  15             Defendants admits the first sentence in this paragraph. Answering Paragraph
  16             12 of the Complaint, upon information and belief, Defendants admits the
  17             second sentence in this paragraph. Answering Paragraph 12 of the
  18             Complaint, upon information and belief, Defendants admits the third
  19             sentence in this paragraph, except that Peter Marco did not personally agree
  20             to sell the two pieces, it was Marco LLC.
  21   13.       Answering Paragraph 13 of the Complaint, upon information and belief,
  22             Defendants admit the allegations in this paragraph, except that there was no
  23             consignment price, there was a negotiated price.
  24   14.       Answering Paragraph 14 of the Complaint, upon information and belief,
  25             Defendants admit the allegations in this paragraph.
  26   15.       Answering Paragraph 15 of the Complaint, upon information and belief,
  27             Defendants deny the allegations in this paragraph. Specifically, Defendants
  28

       4/14-2:54pm
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   1             never represented that he had “consummated the sale” with a “private client”
   2             (on information and belief, Defendant recalls identifying Rechnitz’s identity
   3             to Rovinsky at or around this time, and further takes issue with the term
   4             “private client” as Rechnitz was in the jewelry business and was well known
   5             in business), nor did he ever represent that he “deposited the private client’s
   6             check” nor did he ever represent that “everything was fine.”
   7   16.       Answering Paragraph 16 of the Complaint, upon information and belief,
   8             Defendants admits that they met for dinner on 1-8-2020 in Los Angeles,
   9             admits that he stated that he hoped that the check would clear in 5-10 days
  10             and then Rovinsky could deposit the check he received from Marco LLC
  11             thereafter, but deny that there was any “misrepresentation” and further denies
  12             that he stated or assured Plaintiff “that this was typical for his bank with
  13             deposits of this size.” Defendant did not and could not guaranty that
  14             Rechnitz’s post-dated check would indeed clear. No one could ever make
  15             such a guaranty.
  16   17.       Answering Paragraph 17 of the Complaint, upon information and belief,
  17             Defendants deny the allegations in this paragraph. Specifically, on
  18             information and belief, Defendant recalls identifying Rechnitz’s identity to
  19             Rovinsky at or around this time, and further takes issue with the term
  20             “private client” as Rechnitz was in the jewelry business and was well known
  21             in business. Additionally, Defendant did not and could not predict when
  22             Rechnitz’s post-dated check would indeed clear. No one could ever make
  23             such a prediction.
  24   18.       Answering Paragraph 18 of the Complaint, upon information and belief,
  25             Defendants deny the allegations in this paragraph. Specifically, the texts
  26             between the parties reveal that Plaintiff was fully aware:
  27             a.    that Plaintiff discounted and renegotiated the sale to Defendants by
  28

       4/14-2:54pm
                                                    -20-
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   1                   $450,000.00 (from $3,400,000.00 down to $2,950,000.00);
   2             b.    that Defendants were not the ultimate buyer, but rather that Plaintiff
   3                   consigned the jewelry to Defendants for $2,950,000.00 who was
   4                   waiting for Rechnitz’s deal to go through and for Rechnitz’s
   5                   $2,950,000.00 check to clear;
   6             c.    that Plaintiff knew the risk of selling expensive jewelry to a first-time
   7                   client Marco LLC; &
   8             d.    that Marco exercised reasonable care over the Ring and the Necklace,
   9                   given the circumstances. Hence, Plaintiff’s claim of reasonable
  10                   reliance on alleged representations and assurances to the contrary is
  11                   pure fiction.
  12   19.       Answering Paragraph 19 of the Complaint, upon information and belief,
  13             Defendants deny the allegations in this paragraph, especially under heading
  14             that: “Rovinsky Learned in Mid-January 2020 That Peter Marco’s
  15             Representations and Assurances Were False.” Specifically, Marco never
  16             “changed his story,” never represented that he actually “received payment
  17             from Rechnitz and never represented that he had received “most of the
  18             payment.” Further, said claim is illogical and not plausible, as one cannot
  19             receive most of a payment on a post-dated check.
  20   20.       Answering Paragraph 20 of the Complaint, upon information and belief,
  21             Defendants deny the allegations in this paragraph, because the quote
  22             attributed to Marco is incomplete and misleading.
  23             Don’t be nervous. I have spoken with the client. I’m pretty sure that
                 the sale will go through Thursday I will have the goods or I can
  24             release the payment.
  25             The full and accurate text of Marco shows that Marco referenced the sale
  26   going through contingent on Rechnitz’s sale going through, that Marco related
  27   Rechnitz’s promise to him, and his belief that Rechnitz would come through with
  28

       4/14-2:54pm
                                                   -21-
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   1   the sale. The complete and accurate 1-20-2020 text from Marco stated (in bold):
   2             Don’t be nervous. I have spoken with the client. I’m pretty sure that
                 the sale will go through Thursday I will have the goods or I can
   3             release the payment tomorrow we will be talking again. I feel pretty
                 good about it. I was promised by Thursday he is working a few
   4             things out. Our minds starts to make us crazy. The story has not
                 changed a situation in the client life did but I believe he will honor
   5             his promise and commitment. [Emphasis added].
   6   21.       Answering Paragraph 21 of the Complaint, upon information and belief,
   7             Defendants deny the allegations in this paragraph. Specifically, Marco never
   8             lulled Plaintiff into a false sense of security and convince him to continue to
   9             believe that the delay in payment was merely an issue with the bank. On the
  10             contrary, Marco consistently stated that the sale with Plaintiff going through
  11             was contingent on Rechnitz’s sale going through.
  12   22.       Answering Paragraph 22 of the Complaint, upon information and belief,
  13             Defendants deny the allegations in this paragraph. Specifically, Marco LLC
  14             issued the check, not Marco. Further Plaintiff knew that Rechnitz’s check
  15             was post-dated.
  16   23.       Answering Paragraph 23 of the Complaint, upon information and belief,
  17             Defendants deny the allegations in this paragraph. Specifically, Marco never
  18             represented to Plaintiff that he “sold” or “gave” the Ring or Necklace to
  19             Rechnitz, Marco LLC consigned them to Rechnitz.
  20   24.       Answering Paragraph 24 of the Complaint, upon information and belief,
  21             Defendants admit the allegations in this paragraph. Further, on information
  22             and belief, Defendant recalls identifying Rechnitz’s identity to Rovinsky at
  23             or around the time of the Rechnitz consignment and Plaintiff approved and
  24             authorized it, notwithstanding Rechnitz’s criminal past.
  25   25.       Answering Paragraph 25 of the Complaint, upon information and belief,
  26             Defendants admit the allegations in this paragraph.
  27   26.       Answering Paragraph 26 of the Complaint, upon information and belief,
  28

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                                                    -22-
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   1             Defendants admit that they knew of Rechnitz’s criminal history as well as his
   2             criminal sentencing in December 2019 (and all of that information was
   3             publicly disclosed), but deny that they knew of Rechnitz’s “fraudulent
   4             conduct” (whatever that means). Further, on information and belief,
   5             Defendant recalls identifying Rechnitz’s identity to Rovinsky at or around
   6             the time of the Rechnitz consignment and Plaintiff approved and authorized
   7             it, notwithstanding Rechnitz’s criminal past. Further, even if Defendants did
   8             not identify Rechnitz’s identity earlier, Defendants take issue with the
   9             allegation that they had an obligation to identify their private client’s identity
  10             to Plaintiff. It is standard in the jewelry industry for a merchant not to
  11             disclose to its supplier the identity of the merchant’s buyer, so that the
  12             supplier and the buyer do not cut the merchant out from the deal. That being
  13             said, Defendants were under no duty to disclose Rechnitz’s identity to
  14             Plaintiff.
  15   27.       Answering Paragraph 27 of the Complaint, upon information and belief,
  16             Defendants deny the heading that: “Threats Against Rovinsky and
  17             Rovinsky’s Efforts to Mitigate Loss.” Answering Paragraph 27 of the
  18             Complaint, upon information and belief, Defendants admit the allegations in
  19             this paragraph, although Defendants are unsure as to the exact date.
  20   28.       Answering Paragraph 28 of the Complaint, upon information and belief,
  21             Defendants admit the allegations in the first sentence this paragraph.
  22             However, Defendants deny the second sentence that Marco “hindered”
  23             Plaintiff’s efforts to mitigate its losses by getting the jewelry back. On the
  24             contrary, Marco facilitated Plaintiff’s efforts to mitigate its losses by getting
  25             the jewelry back.
  26   29.       Answering Paragraph 29 of the Complaint, upon information and belief,
  27             Defendants deny the allegations in this paragraph. Specifically, Defendants
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   1             never attempted to “deter” Plaintiff from pursuing recovery of the jewelry.
   2             On the contrary, Marco facilitated Plaintiff’s efforts to mitigate its losses by
   3             getting the jewelry back. Defendant never represented to Plaintiff that the
   4             person from whom Rechnitz borrowed money had ties to a Mexican drug
   5             cartel and was dangerous..
   6   30.       Answering Paragraph 30 of the Complaint, upon information and belief,
   7             Defendants deny the allegations in this paragraph. Defendant never
   8             instructed Rovinsky not to report anything to law enforcement. Defendant
   9             suggested that Plaintiff be patient to give time for the Rechnitz family bailout
  10             and to buy back the jewelry.
  11   31.       Answering Paragraph 31 of the Complaint, upon information and belief,
  12             Defendants deny knowledge or information sufficient to admit or deny the
  13             allegations in this paragraph. Further, Defendant denies conveying any
  14             threats to Rovinsky’s personal safety and his ability to obtain the jewelry.
  15   32.       Answering Paragraph 32 of the Complaint, upon information and belief,
  16             Defendants admit the first sentence in this paragraph. Defendants deny the
  17             second sentence in this paragraph. Specifically, Defendants did not connect
  18             Rovinsky to several people who purportedly loaned money to Rechnitz and
  19             claimed to possess the Ring and the Necklace. Marco introduced Rovinsky to
  20             one person “Henry” who represented himself as an intermediary and
  21             middleman who knew a man named “Tony” who was the one who lent
  22             money to Rechnitz and claimed to possess the Ring and the Necklace.
  23             Defendant did not know them well and did no prior business with them.
  24   33.       Answering Paragraph 33 of the Complaint, upon information and belief,
  25             Defendants admit the allegations in this paragraph.
  26   34.       Answering Paragraph 34 of the Complaint, upon information and belief,
  27             Defendants admit the allegations in this paragraph, except for the word
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   1             “assured.” Marco never assured Plaintiff of repayment. On the contrary, he
   2             conveyed information he received from Rechnitz’s lawyers that the family of
   3             Rechnitz was attempting to bailout Rechnitz and pay his defrauded creditors,
   4             including Defendants (who would then pay Plaintiff). Further, Defendants
   5             never acknowledged ultimate responsibility for any and all of Rovinsky’s
   6             losses.
   7   35.       Answering Paragraph 35 of the Complaint, upon information and belief,
   8             Defendants admit the allegations in this paragraph. Defendant denies
   9             instructing them to surrender their cell phones. Defendant denies patting
  10             down both of them to ensure they had no recording devices.
  11   36.       Answering Paragraph 36 of the Complaint, upon information and belief,
  12             Defendants deny patting down both of them to ensure they had no recording
  13             devices. Defendants admit that Marco conveyed what Henry conveyed to
  14             him, that Tony purportedly had the jewelry and wanted to be paid in cash in
  15             two different transactions.
  16   37.       Answering Paragraph 37 of the Complaint, upon information and belief,
  17             Defendants deny the allegations in this paragraph. On the contrary, Plaintiff
  18             accepted Henry’s and Tony’s proposal and made two agreed-back (not
  19             ransom) payments of $565,000.00 each totaling $1,130.000.00 Rovinsky’s
  20             partner Rick wire transferred the funds to Malka Amit, who wired the funds
  21             to Henry the middleman. Plaintiff’s going ahead with the transaction to
  22             recover their goods disprove their allegation that Rovinsky feared for his own
  23             safety and concerned about the appropriateness of Henry & Tony’s proposal
  24             and refused to accept it.
  25   38.       Answering Paragraph 38 of the Complaint, upon information and belief,
  26             Defendants admit the allegations in this paragraph.
  27   39.       Answering Paragraph 39 of the Complaint, upon information and belief,
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   1             Defendants deny the allegations in this paragraph. Specifically, Defendants
   2             deny that throughout this trying process, Marco continued to communicate
   3             directly with the individuals who purportedly had the jewelry. At the initial
   4             meeting Rovinsky and Henry exchanged phone numbers and communicated
   5             with each other out of Defendants’ presence. Defendants further deny the
   6             allegation that Marco facilitated Rovinsky making “ransom” payments.
   7             Rovinsky agreed to buyback his jewelry with Henry to recover his jewelry.
   8             Further, Defendant deny the allegation that Rovinsky asked Marco to make
   9             the payment himself or provide jewelry of equal value, and that Marco
  10             acknowledged responsibility for Rovinsky’s financial loss and refused to
  11             make the payment.
  12   40.       Answering Paragraph 40 of the Complaint, upon information and belief,
  13             Defendants Defendants deny the allegation that Rovinsky made a “ransom”
  14             payment. Rovinsky agreed to buyback his jewelry with Henry to recover his
  15             jewelry. Defendants admit the first sentence in this paragraph, other than the
  16             word “ransom.” Defendants deny knowledge or information sufficient to
  17             admit or deny the second sentence in this paragraph.
  18   41.       Answering Paragraph 41 of the Complaint, upon information and belief,
  19             Defendants admit the allegations in this paragraph.
  20   42.       Answering Paragraph 42 of the Complaint, upon information and belief,
  21             Defendants admit the first sentence in this paragraph. Defendants deny the
  22             second sentence in this paragraph. Defendant denies Voutsas demanding
  23             more than one-hundred thousand dollars on top of $565,000.00. Defendant
  24             further denies any illegal effort to extort Rovinsky and his business associate.
  25             Defendants further deny “recognizing” recognizing the significant risk that
  26             the Necklace could be seized by law enforcement because it was stolen from
  27             Rovinsky. Defendants further that Marco accepted $565,000. It was solely
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   1             and exclusively an agreed-upon deal with Rovinsky and a pawnbroker named
   2             Tony through Henry the middleman.
   3   43.       Answering Paragraph 43 of the Complaint, upon information and belief,
   4             Defendants deny the heading “Peter Marco Breached the Consignment
   5             Agreements with DR LLC and Failed to Exercise Ordinary Care Over the
   6             Jewelry.” Answering Paragraph 43 of the Complaint, upon information and
   7             belief, Defendants deny knowledge or information sufficient to admit or deny
   8             the allegations in this paragraph. A review of Consignment Memos # 4385
   9             and # 4338 reveal that only the LLC is liable (and not Peter Marco
  10             personally), and were not documented properly in that they contain no terms
  11             of sale (ie., no due date, and no provision for interest & attorneys fees), and
  12             contain no traditional consignment language in them. Further, Plaintiff never
  13             consigned the Ring and the Necklace to Peter Marco. Plaintiff consigned
  14             them to Marco LLC.
  15   44.       Answering Paragraph 44 of the Complaint, upon information and belief,
  16             Defendants deny knowledge or information sufficient to admit or deny the
  17             allegations in this paragraph. Further, Plaintiff never consigned the Ring and
  18             the Necklace to Peter Marco personally. Plaintiff consigned them to Marco
  19             LLC.
  20   45.       Answering Paragraph 45 of the Complaint, upon information and belief,
  21             Defendants deny the allegations in this paragraph.
  22   46.       Answering Paragraph 46 of the Complaint, upon information and belief,
  23             Defendants admits knowing of Rechnitz’s upcoming criminal sentencing
  24             hearing on December 19, 2019, and deny that the valid consignments to
  25             Rechnitz was to “help Rechnitz” from his debt. Defendant denies knowing of
  26             Rechnitz’s “personal circumstances” (whatever that means), and denies
  27             knowing that Rechnitz was heavily in debt.
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   1   47.       Answering Paragraph 47 of the Complaint, upon information and belief,
   2             Defendants deny the allegations in this paragraph.
   3   48.       Answering Paragraph 48 of the Complaint, upon information and belief,
   4             Defendants deny the allegations in this paragraph based on the heading:
   5             “Peter Marco and Voutsas Deceived Rovinsky and Made Dozens of
   6             Misrepresentations for More Than a Month, Further Harming DR LLC.”
   7             Answering Paragraph 48 of the Complaint, upon information and belief,
   8             Defendants deny the 1st sentence in this paragraph. Answering Paragraph 48
   9             of the Complaint, upon information and belief, Defendants admit the 2 nd
  10             sentence in this paragraph that in early December 2019, Voutsas represented
  11             that he had a private client, but deny that said representation was false.
  12             Answering Paragraph 48 of the Complaint, upon information and belief,
  13             Defendants deny the 3rd sentence in this paragraph. Marco never represented
  14             that he actually received money from Rechnitz. Answering Paragraph 48 of
  15             the Complaint, upon information and belief, Defendants deny the 4th sentence
  16             in this paragraph that Voutsas sent Rovinsky a post-dated check (Further,
  17             Marco LLC issued the check, not Marco), but deny that Marco repeatedly
  18             stated that he was waiting for funds to clear in his bank account. On the
  19             contrary, Marco consistently stated that the sale with Plaintiff going through
  20             was contingent on his sale with Rechnitz going through
  21   49.       Regarding Paragraph 49 of the Complaint, Defendants deny the allegation in
  22             this opening paragraph that Voutsas’ culpability is without question. He
  23             facilitated Rechnitz’s fraud, of which he was aware, as evidenced by, among
  24             other conduct and statements.
  25             a.    Answering Paragraph 49a of the Complaint, upon information and
  26                   belief, Defendants deny the allegations in this paragraph.
  27             b.    Answering Paragraph 49b of the Complaint, upon information and
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   1                   belief, Defendants deny the allegations in this paragraph.
   2             c.    Answering Paragraph 49c of the Complaint, upon information and
   3                   belief, Defendants admit that Marco connected Plaintiff with the
   4                   individuals who claimed to have possession of the jewelry, but deny
   5                   that he demanded more than $1 million to get the jewelry back.
   6             d.    Answering Paragraph 49d of the Complaint, upon information and
   7                   belief, Defendants admit the allegations in this paragraph that Voutsas
   8                   communicated directly and regularly with those individuals, but adds
   9                   that so did Rovinsky.
  10             e.    Answering Paragraph 49e of the Complaint, upon information and
  11                   belief, Defendants admit that Marco sent Plaintiff pictures of the
  12                   jewelry in clear plastic bags to facilitate the transaction, but deny that
  13                   he encouraged Rovinsky to make the ransom payment. On the
  14                   contrary, it was Rovinsky’s idea to get the pictures of the jewelry and
  15                   to make the buy-back payment.
  16             f.    Answering Paragraph 49f of the Complaint, upon information and
  17                   belief, Defendants deny the allegations in this paragraph.
  18             g.    Answering Paragraph 49g of the Complaint, upon information and
  19                   belief, Defendants deny the allegations in this paragraph.
  20   50.       Answering Paragraph 50 of the Complaint, upon information and belief,
  21             Defendants deny the allegations in this paragraph.
  22   51.       Answering Paragraph 51 of the Complaint, upon information and belief,
  23             Defendants deny the first sentence in this paragraph, because it was not a
  24             ransom payment, but a buyback payment. Defendants deny the second
  25             sentence in this paragraph.
  26   52.       Answering Paragraph 52 of the Complaint, upon information and belief,
  27             Defendants deny the allegations in this paragraph.
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   1                                 FIRST CAUSE OF ACTION
   2                              (Negligence – Against Peter Marco)
   3   53.       Answering Paragraph 53 of the Complaint, upon information and belief,
   4             Defendants deny the allegations in this paragraph.
   5   54.       Answering Paragraph 54 of the Complaint, upon information and belief,
   6             Defendants deny knowledge or information sufficient to admit or deny the
   7             allegations in this paragraph. A review of Consignment Memos # 4385 and #
   8             4338 reveal that only the LLC is liable (and not Peter Marco personally), and
   9             were not documented properly in that they contain no terms of sale (ie., no
  10             due date, and no provision for interest & attorneys fees), and contain no
  11             traditional consignment language in them. Further, Plaintiff never consigned
  12             the Ring and the Necklace to Peter Marco, personally. Plaintiff consigned
  13             them to Marco LLC.
  14   55.       Answering Paragraph 55 of the Complaint, upon information and belief,
  15             Defendants deny knowledge or information sufficient to admit or deny the
  16             allegations in this paragraph. . Further, Plaintiff never consigned the Ring
  17             and the Necklace to Peter Marco personally. Plaintiff consigned them to
  18             Marco LLC.
  19   56.       Answering Paragraph 56 of the Complaint, upon information and belief,
  20             Defendants deny knowledge or information sufficient to admit or deny the
  21             allegations in this paragraph.
  22   57.       Answering Paragraph 57 of the Complaint, upon information and belief,
  23             Defendants deny the allegations in this paragraph.
  24   58.       Answering Paragraph 58 of the Complaint, upon information and belief,
  25             Defendants deny knowledge or information sufficient to admit or deny the
  26             allegations in this paragraph.
  27   ///
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   1                                  SECOND CAUSE OF ACTION
   2                   (Conversion - Against Peter Marco and Peter Voutsas)
   3   59.       Answering Paragraph 59 of the Complaint, upon information and belief,
   4             Defendants deny the allegations in this paragraph.
   5   60.       Answering Paragraph 60 of the Complaint, upon information and belief,
   6             Defendants deny knowledge or information sufficient to admit or deny the
   7             allegations in this paragraph. Specifically, Defendants do not know that
   8             Plaintiff owned the Necklace and the Ring. Defendants were informed by
   9             Plaintiff that Rovinsky has partners in them. Further, a review of
  10             Consignment Memos # 4385 and # 4338 reveal that only the LLC is liable
  11             (and not Peter Marco personally), and were not documented properly in that
  12             they contain no terms of sale (ie., no due date, and no provision for interest &
  13             attorneys fees), and contain no traditional consignment language in them.
  14   61.       Answering Paragraph 61 of the Complaint, upon information and belief,
  15             Defendants deny knowledge or information sufficient to admit or deny the
  16             allegations in this paragraph. A review of Consignment Memos # 4385 and #
  17             4338 reveal that only the LLC is liable (and not Peter Marco personally), and
  18             were not documented properly in that they contain no terms of sale (ie., no
  19             due date, and no provision for interest & attorneys fees), and contain no
  20             traditional consignment language in them. Further, Plaintiff never consigned
  21             the Ring and the Necklace to Peter Marco, personally. Plaintiff consigned
  22             them to Marco LLC.
  23   62.       Answering Paragraph 62 of the Complaint, Defendants, deny the allegations
  24             in this paragraph.
  25   63.       Answering Paragraph 63 of the Complaint, Defendants, deny the allegations
  26             in this paragraph. Specifically, Rovinsky never demanded that both pieces be
  27             returned to him.
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   1   64.       Answering Paragraph 64 of the Complaint, Defendants, deny the allegations
   2             in this paragraph.
   3                                   THIRD CAUSE OF ACTION
   4                      (Fraud – Against Peter Marco and Peter Voutsas)
   5   65.       Answering Paragraph 65 of the Complaint, Defendants, deny the allegations
   6             in this paragraph.
   7   66.       Answering Paragraph 66 of the Complaint, Defendants, deny the allegations
   8             in this paragraph.
   9   67.       Answering Paragraph 67 of the Complaint, Defendants, deny the allegations
  10             in this paragraph.
  11   68.       Answering Paragraph 68 of the Complaint, Defendants, deny the allegations
  12             in this paragraph.
  13   69.       Answering Paragraph 69 of the Complaint, Defendants, deny the allegations
  14             in this paragraph.
  15   70.       Answering Paragraph 70 of the Complaint, Defendants, deny the allegations
  16             in this paragraph.
  17   71.       Answering Paragraph 71 of the Complaint, Defendants, deny the allegations
  18             in this paragraph.
  19   72.       Answering Paragraph 72 of the Complaint, Defendants, deny the allegations
  20             in this paragraph.
  21                                   FOURTH CAUSE OF ACTION
  22         (Negligent Misrepresentation – Against Peter Marco and Peter Voutsas)
  23   73.       Answering Paragraph 73 of the Complaint, Defendants, deny the allegations
  24             in this paragraph..
  25   74.       Answering Paragraph 74 of the Complaint, Defendants, deny the allegations
  26             in this paragraph.
  27   75.       Answering Paragraph 75 of the Complaint, Defendants, deny the allegations
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   1             in this paragraph.
   2   76.       Answering Paragraph 76 of the Complaint, Defendants, deny the allegations
   3             in this paragraph.
   4   77.       Answering Paragraph 77 of the Complaint, Defendants, deny the allegations
   5             in this paragraph.
   6   78.       Answering Paragraph 78 of the Complaint, Defendants, deny the allegations
   7             in this paragraph.
   8   79.       Answering Paragraph 79 of the Complaint, Defendants, deny the allegations
   9             in this paragraph.
  10                                  FIFTH CAUSE OF ACTION
  11       (Civil Theft (Penal Code § 496) – Against Peter Marco and Peter Voutsas)
  12   80.       Answering Paragraph 80 of the Complaint, Defendants, deny the allegations
  13             in this paragraph.
  14   81.       Answering Paragraph 81 of the Complaint, Defendants deny knowledge or
  15             information sufficient to admit or deny the allegations in this paragraph, that
  16             Rovinsky “entrusted” Peter Marco with the Ring and the Necklace as a
  17             “consignee.” A review of Consignment Memos # 4385 and # 4338 reveal that
  18             only the LLC is liable (and not Peter Marco personally), and were not
  19             documented properly in that they contain no terms of sale (ie., no due date,
  20             and no provision for interest & attorneys fees), and contain no traditional
  21             consignment language in them. Further, Plaintiff never consigned the Ring
  22             and the Necklace to Peter Marco, personally. Plaintiff consigned them to
  23             Marco LLC.
  24   82.       Answering Paragraph 82 of the Complaint, Defendants, deny the allegations
  25             in this paragraph. Specifically, Defendants did not “give” the jewelry to
  26             Rechnitz, they were consigned to Rechnitz. Answering Paragraph 82 of the
  27             Complaint, Defendants, admit the clause that Rechnitz converted the jewelry
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   1             for his own personal use. Answering Paragraph 82 of the Complaint,
   2             Defendants, deny the remaining allegations in this paragraph.
   3   83.       Answering Paragraph 83 of the Complaint, Defendants, deny the allegations
   4             in this paragraph.
   5   84.       Answering Paragraph 84 of the Complaint, Defendants, deny the allegations
   6             in this paragraph.
   7   85.       Answering Paragraph 85 of the Complaint, Defendants, deny the allegations
   8             in this paragraph.
   9                                  SIXTH CAUSE OF ACTION
  10                     (Aiding and Abetting Conversion and Civil Theft –
  11                           Against Peter Marco and Peter Voutsas)
  12   86.       Answering Paragraph 86 of the Complaint, Defendants, deny the allegations
  13             in this paragraph.
  14   87.       Answering Paragraph 87 of the Complaint, Defendants, deny the allegations
  15             in this paragraph. Answering Paragraph 87 of the Complaint, Defendants,
  16             admit the clause that Rechnitz converted the jewelry for his own personal
  17             use, and deny knowledge or information sufficient to admit or deny that
  18             Rechnitz gave the pieces to a lender as collateral to obtain a $1 million loan.
  19             Further, Marco never acted on his own behalf but on behalf of the LLC.
  20             Further, Defendants’ did not “give” the jewelry to Rechnitz, they were
  21             consigned to Rechnitz.
  22   88.       Answering Paragraph 88 of the Complaint, Defendants, deny the allegations
  23             in this paragraph.
  24   89.       Answering Paragraph 89 of the Complaint, Defendants, deny the allegations
  25             in this paragraph.
  26   90.       Answering Paragraph 90 of the Complaint, Defendants, deny the allegations
  27             in this paragraph.
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   1   91.       Answering Paragraph 91 of the Complaint, Defendants, deny the allegations
   2             in this paragraph.
   3   92.       Answering Paragraph 92 of the Complaint, Defendants, deny the allegations
   4             in this paragraph.
   5   93.       Answering Paragraph 93 of the Complaint, Defendants, deny the allegations
   6             in this paragraph.
   7                                     PRAYER FOR RELIEF
   8   94.       Answering Paragraphs a, b, c, d, e, f, in this section, Defendants deny that
   9             Plaintiff are entitled to any of the relief requested.
  10                                  AFFIRMATIVE DEFENSES
  11   95.       Defendants allege the following affirmative defenses to the Complaint. In
  12             asserting these affirmative defenses, Defendants do not assume the burden to
  13             establish any fact or proposition where that burden is properly imposed on
  14             Plaintiff:
  15             a.     The Complaint fails to state facts sufficient to constitute a cause of
  16                    action against these answering Defendants;
  17             b.     Plaintiff has failed to state a claim upon which relief may be granted;
  18             c.     Plaintiff has failed to mitigate its own damages;
  19             d.     Plaintiff’s reliance was not reasonable;
  20             e.     Plaintiff’s Consignment Memos # 4385 and # 4338 were not
  21                    documented properly in that they contain no terms of sale (ie., no due
  22                    date, and no provision for interest & attorneys fees), and contain no
  23                    traditional consignment language in them.
  24             f.     Plaintiff is estopped by its own conduct to assert the allegations in the
  25                    Complaint;
  26             g.     Plaintiff’s claims are barred by laches;
  27             h.     Plaintiff suffered no damages as a result of the acts complained of;
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   1             i.   If any damages were sustained by Plaintiff, which Defendants deny,
   2                  said damages were proximately caused by the negligence of Plaintiff
   3                  and/or third parties other than Defendants and the liability of all
   4                  responsible parties, named or unnamed, should be apportioned
   5                  according to their relative degrees of fault, and the liability of
   6                  Defendants, if any, should be reduced accordingly and apportioned
   7                  pursuant to California Civil Code §§ 1431 through 1437;
   8             j.   Plaintiff does not have a case or controversy as required by federal law.
   9                  If the Defendants’ alleged conduct is found to have been wrongful,
  10                  which Defendants deny and continues to deny, then Plaintiff’ claims
  11                  are barred by the doctrine of unclean hands;
  12             k.   Defendants acted in good faith and did not directly or indirectly
  13                  perform any acts whatsoever which would constitute a violation of any
  14                  rights possessed by Plaintiff, or any duty owed to Plaintiff;
  15             l.   None of the alleged acts or omissions of Defendants were a substantial
  16                  factor in bringing about the alleged damages and losses alleged by
  17                  Plaintiff and, therefore, were not a contributing cause, but instead,
  18                  were superseded by the acts and/or omissions of Plaintiff and others
  19                  which were independent, intervening, and proximate causes of the
  20                  damages and losses alleged by Plaintiff;
  21             m.   Plaintiff’s action against Defendants is barred by the fact that they did
  22                  not deliberately and intentionally violate Plaintiff’ rights and was not
  23                  deliberately indifferent;
  24             n.   Defendants allege that they are immune from liability because their
  25                  acts, if any, were performed in good faith and without malice;
  26             o.   Defendants have never taken any action with a conscious disregard of
  27                  Plaintiff’s rights, and have not engaged in any conduct with respect to
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   1                   Plaintiff which would constitute oppression, fraud or malice, nor have
   2                   Defendants ratified or approved any such act or acts of others;
   3             p.    Plaintiff’s claims are barred by the defense of after acquired evidence;
   4             q.    Defendants presently have insufficient knowledge or information on
   5                   which to form a belief as to whether it may have additional, as yet
   6                   unstated defenses available. Defendants reserve the right to assert
   7                   additional defenses that are revealed by further investigation or
   8                   discovery.
   9                                            PRAYER
  10   96.       WHEREFORE, DEFENDANTS pray for judgment or relief against Plaintiff
  11             as follows:
  12             a.    That the claims against Defendants be dismissed, with prejudice, and
  13                   that the Plaintiff take nothing;
  14             b.    That Defendants be awarded their attorney’s fees, costs, and
  15                   disbursements incurred in defending this matter; and
  16             c.    For such other and further relief, including declaratory, equitable relief,
  17                   and damages, as this Court deems just and proper.
  18

  19   DATED:          April 14, 2020             LAW OFFICE OF BARUCH C. COHEN
                                                  A Professional Law Corporation
  20
                                                  By     /S/ Baruch C. Cohen
  21                                              Baruch C. Cohen, Esq.
                                                  Attorney for Defendants PETER MARCO
  22                                              LLC, a California limited liability company,
                                                  PETER VOUTSAS, an individual
  23

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   1                                   CERTIFICATE OF SERVICE
   2         I declare that I am a citizen of the United States and I am a resident and employed in
       Los Angeles, California; that my business address is 4929 Wilshire Boulevard, Suite 940
   3   Los Angeles, California 90010; that I am over the age of 18 and not a party to the
       above-entitled action.
   4
               I am employed by a member of the United States District Court for the Central
   5   District of California, and at whose direction I caused service of the foregoing document
       entitled ANSWER TO COMPLAINT FOR: NEGLIGENCE, CONVERSION,
   6   FRAUD, NEGLIGENT MISREPRESENTATION, CIVIL THEFT (CAL. PENAL
       CODE § 496), AND AIDING AND ABETTING CONVERSION AND CIVIL
   7   THEFT on all interested parties in this action by the method indicated below at the address
       stated below:
   8

   9
        Anthony R Bisconti, Esq.                         Steven Jay Katzman, Esq.
        Bienert Katzman PC                               Bienert Katzman PC
  10
        601 West 5th Street Suite 720                    601 West 5th Street Suite 720
        Los Angeles, CA 90071                            Los Angeles, CA 90071
  11
        Email: tbisconti@bienertkatzman.com              Email: skatzman@bienertkatzman.com
        Attorney for Plaintiff David Rovinsky LLC        Attorney for Plaintiff David Rovinsky LLC
  12    Jason A. Levine, Esq.                            Andrew E. Erdlen, Esq.
        Hangley Aronchick Segal                          Hangley Aronchick Segal
  13    Pudlin & Schiller                                Pudlin & Schiller
        One Logan Square, 27th Floor                     One Logan Square, 27th Floor
  14    Philadelphia, PA 19103                           Philadelphia, PA 19103
        Email: jlevine@hangley.com                       Email: aerdlen@hangley.com
  15    Attorney for Plaintiff David Rovinsky LLC        Attorney for Plaintiff David Rovinsky LLC
  16   [X]       BY ELECTRONIC TRANSMISSION: by electronically filing the foregoing with
  17
                 the Clerk of the District Court using its CM/ECF System pursuant to the Electronic
                 Case Filing provision of the United States District Court General Order and the E-
  18
                 Government Act of 2002, which electronically notifies all parties in this case. A pdf
                 version of this document was also transmitted to counsel via electronic mail at the
  19
                 mail address indicated above.

  20
               I declare under penalty of perjury under the laws of the United States of America
       that the foregoing is true and correct. Executed on April 14, 2020 at Los Angeles,
  21
       California.

  22
       By: /s/ Baruch C. Cohen
          Baruch C. Cohen
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       4/14-2:54pm
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